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                EXHIBIT D
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                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                                     MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION

                                                                                                SECTION “H” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                               SIXTH AMENDED PLAINTIFF FACT SHEET


      This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the use of
Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best of your
knowledge. In completing this Fact Sheet, you are under oath and must provide information that is true and
correct to the best of your knowledge. If you cannot recall all of the details requested, please provide as much
information as you can. You must supplement your responses if you learn that they are incomplete or incorrect
in any material respect.

       In filling out this form, please use the following definitions: (1) “healthcare provider” means any
hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic laboratory, or other facility
that provides medical, dietary, psychiatric, or psychological care or advice, and any pharmacy, weight loss
center, x-ray department, laboratory, physical therapist or physical therapy department, rehabilitation
specialist, physician, psychiatrist, osteopath, homeopath, chiropractor, psychologist, nutritionist, dietician, or
other persons or entities involved in the evaluation, diagnosis, care, and/or treatment of the plaintiff or
plaintiff’s decedent; (2) “document” means any writing or record of every type that is in your possession,
including but not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-identical
copies, and other data compilations from which information can be obtained and translated, if necessary, by the
respondent through electronic devices into reasonably usable form.

      Information provided by plaintiff will only be used for purposes related to this litigation and may
be disclosed only as permitted by the protective order in this litigation. This Fact Sheet is completed
pursuant to the Federal Rules of Civil Procedure governing discovery (or, for state court case, the
governing rules of civil of the state in which the case is pending).

I.    CORE CASE INFORMATION

Attorney Information

      Please provide the following information for the civil action that you filed:
               1. Caption: Lisa Tuyes v. Sanofi-Aventis U.S., Inc., et al.
               2. Court and Docket No.: USDC, EDLA 2:16-cv-15473-KDE-MBN
               3. MDL Docket No. (if different): 2:16-md-02740-KDE-MBN

TUYES, LISA                                                 1                                   Plaintiff ID 1360
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              4.   Date Lawsuit Filed: 10/14/16
              5.   Plaintiff’s Attorney: Betsy Barnes
              6.   Plaintiff’s Law Firm: Morris Bart, LLC
              7.   Attorney’s Address: 601 Poydras Street 24th floor
                                        New Orleans, LA 70130
              8.   Attorney’s Phone Number: (504) 599-3234
              9.   Attorney’s Email Address: bbarnes@morrisbart.com

Plaintiff Information

      Please provide the following information for the individual on whose behalf this action was filed:
              10. Name: TUYES, LISA
              11. Street Address:
              12. City:
              13. State:
              14. Zip code:
              15. Date of Birth:
              16. Place of Birth:
              17. Social Security Number:
              18. Maiden or other names you have used or by which you have been known:
                   Lisa Preis (Maiden)
              19. Sex: Male: o Female: x
              20. Race:

                                          Race                          Yes
                   American Indian or Alaska Native                      o
                   Asian                                                 o
                   Black or African American                             o
                   Native Hawaiian or Other Pacific Islander             o
                   White                                                 x

              21. Ethnicity:

                                        Ethnicity                       Yes
                   Hispanic or Latino                                    o
                   Not Hispanic or Latino                                x

              22. Primary Language: English


Representative Information



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      If you are completing this questionnaire in a representative capacity (e.g., on behalf of the estate of a
      deceased person), please state the following:
               23. Name:
               24. Address:

               25. Capacity in which you are representing the individual:
               26. If you were appointed as a representative by a court, identify the State, Court and Case Number:

                             a) State:
                             b) Court:
                             c) Case Number:
               27. Relationship to the Represented Person:
               28. State the date of death of the decedent: --/--/----
               29. State the place of death of the decedent:
               30. Are you filling this questionnaire out on behalf of an individual who is deceased and on whom
                   an autopsy was performed? Yes o No o
If you are completing this questionnaire in a representative capacity, please respond to these questions with
respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II.   PERSONAL INFORMATION

Relationship Information

      Please provide the following information for the civil action that you filed:
               1. Are you currently: Married: x Single: o Engaged: o
                    Significant other: o Divorced: o Widowed: o Same sex partner: o
               2.   Have you ever been married? Yes x No o
               3.   If yes, for EACH marriage, state the following:


                                               Dates of            Date Marriage
            Spouse’s Name                                                             Nature of Termination
                                               Marriage                Ended
Tuyes, Wayne                               06/6/1977               --/--/----


Education

               4.   For each level of education you completed, please check below:
                    High School: x Vocational School: o
                    College: AA: o BA/BS: x Masters: o PhD: o M.D.: o
                    Other:


Employment

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              5.   Are you currently employed? Yes x No o
              6.   If yes, state the following:
                         a) Current employer name: Jefferson Parish Clerk of the Court
                         b) Address: 924 David Drive
                                     Metairie, LA 70003
                         c) Telephone number: (504) 736-8950
                         d) Your position there: Court Clerk
              7.   Are you making a claim for lost wages or lost earning capacity?
                   Yes o No x
              8.   Only if you are asserting a wage loss claim, please state the following for EACH employer for
                   the last seven (7) years:


                                                                                              Annual
                                                                         Dates of
 Name of Employer                Address of Employer                                           Gross      Your Position
                                                                        Employment
                                                                                              Income
                                                                       --/--/---- to
                                                                       --/--/----
                                                                       o Present


              9.   Have you ever been out of work for more than thirty (30) days for reasons related to your health
                   in the last seven (7) years? Yes o No x
              10. If yes, please state the following:


              Name of Employer                                     Dates                           Health Reason
                                                    --/--/---- to --/--/----
                                                    o Present


     YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND IDENTIFY THE LOSS OF
     CONSORTIUM PLAINTIFF’S EMPLOYERS IF CLAIMING LOST WAGES OR LOST EARNING CAPACITY
     DAMAGES.


Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation, social
                  security, and/or state or federal disability benefits?

                   Yes o No x
              12. If yes, then as to EACH application, please state the following:


  Year Claim                                      Nature of Claimed
                             Court                                                     Period of Disability Award Amount
     Filed                                             Injury



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Military Service

               13. Have you ever served in any branch of the military? Yes o No x
               14. If yes, state the branch and dates of service:


                                           Branch Name                Dates of Service
                                                                    --/--/---- to --/--/----
                                                                    o Present


               15. If yes, were you discharged for any reason relating to your health (whether physical, psychiatric,
                   or other health condition)? Yes o No o
               16. If yes, state the condition:


Other Lawsuits

               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily injury, or made a
                   claim, OTHER THAN the present suit? Yes o No x


Computer Use

               18. Apart from communications to or from your attorney, have you communicated via email, visited
                   any chat rooms, or publicly posted a comment, message or blog entry on a public internet site
                   regarding your experience with or injuries you attribute to Taxotere®, other chemotherapies,or
                   alopecia/hair loss during the past ten (10) years? You should include all postings on public
                   social network sites including Twitter, Facebook, MySpace, LinkedIn, or “blogs” that address
                   the topics above.
                   Yes o No x
               19. If yes, please state the following:


                                         Screen Name or
           Forum Name                                         Date of Post                     Substance of Post
                                           User Handle
                                                             --/--/----


               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes o No x

                          a) If yes, identify the group by name:
                          b) When did you join the group?


III.   PRODUCT IDENTIFICATION

               I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                                    DOCETAXEL: Yes x No o

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               YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET


Taxotere®

               1.   Were you treated with brand name Taxotere ®? Yes x No o Unknown o


Other Docetaxel
               2. Were you treated with another Docetaxel or generic Taxotere®? Yes o No x
               3. If yes, select all that apply:
                                              Name of Drug                               Yes
                    Docetaxel – Sanofi-Aventis U.S. LLC d/b/a Winthrop US                o
                    Docetaxel – McKesson Corporation d/b/a McKesson Packaging            o
                    Docetaxel – Actavis LLC f/k/a Actavis Inc. / Actavis Pharma, Inc.    o
                    Docetaxel – Pfizer Inc.                                              o
                    Docetaxel – Sandoz Inc.                                              o
                    Docetaxel – Accord Healthcare, Inc.                                  o
                    Docetaxel – Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc. /
                                                                                         o
                    Hospira, Inc.
                    Docefrez – Sun Pharma Global FZE                                     o
                    Docefrez – Sun Pharmaceutical Industries, Inc. f/k/a Caraco
                                                                                         o
                    Pharmaceutical Laboratories, Ltd.
                    Docetaxel – Teva Parenteral Medicines, Inc.                          o
                    Docetaxel – Dr. Reddy’s Laboratories Limited                         o
                    Docetaxel – Eagle Pharmaceuticals, Inc.                              o
                    Docetaxel – Northstar Rx LLC                                         o
                    Docetaxel – Sagent Pharmaceuticals, Inc.                             o
                    Unknown                                                              o


               4.   IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS FOLLOWS:

                    I certify that I have made reasonable, good faith efforts to identify the manufacturer of the
                    Docetaxel used in my treatment, including requesting records from my infusion pharmacy,
                    and the manufacturer either remains unknown at this time or I am awaiting the records:
                    x

IV.    MEDICAL INFORMATION



Vital Statistics

               1.   How old are you: 61

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                2. Age at the time of your alleged injury:            51
                3. Current weight: 190 lbs.
                4. Current height:
                     Feet: 5 Inches: 2
                5. Weight at time of alleged injury: 180


Gynecologic and Obstetric History

                6. Have you ever been pregnant? Yes x No o
                            a) Number of pregnancies: 02
                            b) Number of live births: 02
                7. If you have children, please state the following for EACH child:


          Child’s Name                                                Address                           Date of Birth
Spottswood, Jennifer T

Anthony, Aimee T


                8. Date of first period (menses): ??/??/1968 Age: 13
                9. Date of last period (menses):          ??/??/2006 Age: 51
                10. Are you menopausal, perimenopausal or postmenopausal? Yes x No o
                11. For EACH year for the last seven (7) years before your first treatment with Taxotere® or
                    Docetaxel and since then, who did you see for your annual gynecological exam? Also
                    indicate whether an annual exam was skipped ormissed.


              Doctor                                     Office                              Year   Skipped or Missed
                                      4228 Houma Boulevard, Suite 400, Metairie, LA
Wiedemann, Jr. (Deceased), Alfred G                                                   2000                   o
                                      70006
                                      4228 Houma Boulevard, Suite 400, Metairie, LA
Wiedemann, Jr. (Deceased), Alfred G                                                   2001                   o
                                      70006
                                      4228 Houma Boulevard, Suite 400, Metairie, LA
Wiedemann, Jr. (Deceased), Alfred G                                                   2002                   o
                                      70006
                                      4228 Houma Boulevard, Suite 400, Metairie, LA
Wiedemann, Jr. (Deceased), Alfred G                                                   2003                   o
                                      70006
                                      4228 Houma Boulevard, Suite 400, Metairie, LA
Wiedemann, Jr. (Deceased), Alfred G                                                   2004                   o
                                      70006
                                      200 West Esplanade Avenue, Suite 501, Kenner,
Wiedemann, Jr. (Deceased), Afred G                                                    2005                   x
                                      LA 70065
                                      200 West Esplanade Avenue, Suite 501, Kenner,
Wiedemann, Jr. (Deceased), Alfred G                                                   2006                   o
                                      LA 70065
                                      200 West Esplanade Avenue, Suite 501, Kenner,
Wiedemann, Jr. (Deceased), Alfred G                                                   2007                   o
                                      LA 70065
                                      200 West Esplanade Avenue, Suite 501, Kenner,
Wiedemann, Jr. (Deceased), Alfred G                                                   2008                   o
                                      LA 70065

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              Doctor                                Office                              Year   Skipped or Missed
                                 200 West Esplanade Avenue, Suite 501, Kenner,
Wiedemann, Michael A                                                             2009                   o
                                 LA 70065
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2010                   o
                                 70006
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2011                   o
                                 70006
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2012                   o
                                 70006
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2013                   o
                                 70006
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2014                   o
                                 70006
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2015                   o
                                 70006
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2016                   o
                                 70006
                                 4500 Clearview Parkway, Suite 101, Metairie, LA
Sullivan, Kathleen                                                               2017                   o
                                 70006


                12. For EACH year after age 40, or before then if applicable, who did you see for your annual
                    mammogram? Also indicate whether an annual mammogram was skipped or missed.


              Doctor                                Office                              Year   Skipped or Missed
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       1995                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       1996                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       1997                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       1998                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       1999                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       2000                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       2001                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       2002                   o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                       2003                   o
                                 Metairie, LA 70001



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               Doctor                               Office                           Year      Skipped or Missed
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                    2004                      o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                    2005                      o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                    2006                      o
                                 Metairie, LA 70001
                                 4720 I-10 Service Road
Holdiness, Mack R                Suite 207                                    2007                      o
                                 Metairie, LA 70001
                                 Not Medically Necessary                      2008                      x
                                 Not Medically Necessary                      2009                      x
                                 Not Medically Necessary                      2010                      x
                                 Not Medically Necessary                      2011                      x
                                 Not Medically Necessary                      2012                      x
                                 Not Medically Necessary                      2013                      x
                                 Not Medically Necessary                      2014                      x
                                 Not Medically Necessary                      2015                      x
                                 Not Medically Necessary                      2016                      x
                                 Not Medically Necessary                      2017                      x



Other Risk Factors

                13. Have any family members been diagnosed with breast cancer?


                                                                     Age at
                    Family Member                   Diagnosed
                                                                    Diagnosis
      Sister                                               x       42


                14. Have you ever been diagnosed as having genes or gene mutations that carry an increased
                    cancer risk (e.g., BRCA1, BRCA2)? Yes o No x
                          a) If yes, which?
                    Did you receive radiation treatments or exposure to radiation before the age of 30?
                15.
                    Yes o No x
                          a) If yes, describe the particulars of your treatment or exposure:



Tobacco Use History



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For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check the answer and
fill in the blanks applicable to your history of tobacco use, including cigarettes, cigars, pipes, and/or chewing
tobacco/snuff.
                  16. I currently use tobacco: Yes o No x
                  17. I have never used tobacco: Yes x No o
                  18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                      Yes o No x
                  19. Identify types of tobacco use:


                                                                                     Duration of Use
                  Type                   Used           Average Per Day
                                                                                         (Years)
     Cigarettes                           o
     Cigars                               o
     Pipes                                o
     Chewing tobacco/snuff                o



Prescription Medications

                  20. Apart from chemotherapy, are there prescription or over-the-counter medications that you
                      took on a regular basis or more than three (3) times inthe seven (7) year period before you
                      first took Taxotere®? Yes x No o
                      For purposes of this question, “regular basis” means that you were directed by a healthcare
                      provider to take a medication for at least forty-five (45) consecutive days.
                  21. If yes, please provide the following for EACH prescription medication:


                  Medication                                        Prescriber                            Dates Taken
                                                Wiedemann (Deceased), Alfred                       ??/??/1971 to
Synthroid                                       4228 Houma Boulevard, Suite 400                    02/15/1999
                                                Metairie, LA 70006                                 o Present
                                                Holdiness, Mack
                                                                                                   02/15/1999 to --/--/----
Synthroid                                       4720 S I-10 Service Road West, Suite 207
                                                                                                   R Present
                                                Metairie, LA 70001
                                                Wiedemann, Michael
                                                                                                   ??/??/2006 to --/--/----
Synthroid                                       200 W Esplanade Avenue, Suite 501,
                                                                                                   R Present
                                                Kenner, LA 70065
                                                Klein (Deceased), Hanks                            08/??/1960 to
Synthroid                                       Jefferson Davis Parkway (?)                        ??/??/1971
                                                New Orleans, LA                                    o Present
                                                Holdiness, Mack                                    06/14/2005 to
Estrastep Fe                                    4720 I-10 Service Road, Suite 207                  10/16/2007
                                                Metairie, LA 70001                                 o Present
                                                Holdiness, Mack
                                                                                                   12/4/2002 to --/--/----
Wellbutrin (24 hour-150 mg)                     4720 I-10 Service Road, Suite 207
                                                                                                   R Present
                                                Metairie, LA 70001


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V.   CANCER DIAGNOSIS AND TREATMENT



Cancer Diagnosis & Treatment Generally

              1. Have you ever been diagnosed with cancer? Yes x No o
              2. Were you diagnosed with cancer more than once? Yes o No x
              3. Did you undergo any of the following for cancer?


                                         Treatment          Treated
                                    Surgery                     x
                                    Radiation                   x
                                    Chemotherapy                x


              4. For surgery, specify:


                                           Type of Surgery                    Treated
                              Double mastectomy                                 x
                              Left-side mastectomy                              o
                              Right-side mastectomy                             o
                              Lumpectomy                                        o
                              Other:                                            o


              5. Please state the following for EACH cancer diagnosis:


Type of Cancer                           Breast Cancer

Date of Diagnosis                        10/16/2007
                                         10/16/2007 to --/--/---- R Present
                                         Chemotherapy
Primary Oncologist                       Gurtler, Jayne
                                         3939 Houma Boulevard, Suite 6
                                         Metairie, LA 70006
                                         10/16/2007 to 11/31/2007 o Present
                                         Breast Cancer Radiation Treatment
Primary Oncologist                       Monsour, Paul
                                         4204 Houma Boulevard
                                         Metairie, LA 70006
                                         10/16/2007 to 11/30/2008 o Present
                                         Breast Cancer Surgery
Primary Oncologist                       Uddo, Joseph
                                         4224 Houma Boulevard, Suite 450
                                         Metairie, LA 70006

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                                           10/16/2007 to --/--/---- R Present
                                           Breast Cancer and General Health services
Treatment Facility                         East Jefferson General Hospital
                                           4200 Houma Boulevard
                                           Metairie, LA 70006
                                           04/1/2008 to 12/31/2008 o Present
                                           Radiation Therapy for Breast Cancer
Treatment Facility                         East Jefferson Radiation Oncology, LLC
                                           3800 Houma Boulevard, Suite 240
                                           Metairie, LA 70006
Treatment Facility                         --/--/---- to --/--/---- o   Present
Treatment Facility                         --/--/---- to --/--/---- o   Present


Particulars of Chemotherapy

              6. When were you first diagnosed with the condition for which you were prescribed Taxotere® or
                 Docetaxel? 10/16/2007
              7. What was the diagnosis for which you were prescribed Taxotere® or Docetaxel?


                                        Diagnosis                                 Diagnosed
                   Breast cancer                                                     x
                   Non-small cell lung cancer                                        o
                   Prostate cancer                                                   o
                   Gastric adenocarcinoma                                            o
                   Head and neck cancer                                              o
                   Other:                                                            o


              8.   For breast cancer, specify:
                         a) Tumor size:


                                   Tumor Size                    Yes
                            TX                                    o
                            T0                                    o
                            Tis                                   o
                            T1                                    o
                            T2                                    o
                            T3                                    x
                            T4 (T4a, T4b, T4c, T4d)               o
                            Unknown                               o


                         b) Metastasis: M0
                         c) Node involvement:

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                                      Node              Yes
                          Node + NX                      o
                          Node + N0                      o
                          Node + N1                      o
                          Node + N2                      x
                          Node + N3                      o
                          Node – (negative)              o
                          Unknown                        o


                        d) HER2 + (positive): o HER2- (negative): x Unknown: o
                        e) Estrogen receptor: Positive (ER+): x Negative (ER-): o Unknown: o
                        f) Progesterone receptor: Positive (PR+): x Negative (PR-): o Unknown: o
              9.   Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever received?
                   Yes o No x Unknown o

              10. Have you ever been treated with other chemotherapy drugs, either alone or in combination
                  with or sequentially with Taxotere® or Docetaxel? Yes x No o Unknown o
              11. If yes, check which of the following chemotherapy drugs you took:


                                                 Drug                        Yes
                          5-Fluorouracil (Eludex)                            x
                          Actinomycin                                         o
                          Altretamine (Hexalen)                               o
                          Amsacrine                                           o
                          Bleomycin                                           o
                          Busulfan (Busulfex, Myleran)                        o
                          Cabazitaxel: Mitoxantrone                           o
                          Carboplatin (Paraplatin)                            o
                          Carmustine (BiCNU, Gliadel)                         o
                          Cetuximab (Erbitux)                                 o
                          Chlorambucil (Leukeran)                             o
                          Cisplatin (Platinol)                                o
                          Cyclophosphamide (Neosar)                          x
                          Cytarabine (Depocyt)                                o
                          Dacarbazine                                         o
                          Daunorubicin (Cerubidine, DaunoXome)                o
                          Doxorubicin (Adriamycin, Doxil)                    x
                          Epirubicin (Ellence)                                o
                          Erlotinib (Tarceva)                                 o

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                                               Drug                         Yes
                         Etoposide (Etopophos, Toposar)                      o
                         Everolimus (Afinitor, Zortress)                     o
                         Faslodex (Fulvestrant)                              o
                         Gemcitabine (Gemzar)                                o
                         Hexamethylmelamine (Hexalen)                        o
                         Hydroxyurea (Hydrea, Droxia)                        o
                         Idarubicin (Idamycin)                               o
                         Ifosfamide (Ifex)                                   o
                         L-asparginase (crisantaspase)                       o
                         Lomustine (Ceenu)                                   o
                         Melphalan (Alkeran)                                 o
                         Mercaptopurine (Purinethol, Purixan)                o
                         Methotrexate (Trexall, Rasuvo)                      o
                         Mitomycin                                           o
                         Mitoxantrone                                        o
                         Nab-paclitaxel (Abraxane): Mitoxantrone             o
                         Nitrogen mustard                                    o
                         Paclitaxel (Taxol)                                  o
                         Panitumumab (Vectibix)                              o
                         Procarbazine (Matulane)                             o
                         Sorafenib (Nexavar)                                 o
                         Teniposide (Vumon)                                  o
                         Thioguanine (Tabloid)                               o
                         Thiotepa (Tepadina)                                 o
                         Topotecan (Hycamtin)                                o
                         Vemurafenib (Zelboraf)                              o
                         Vinblastine                                         o
                         Vincristine (Mariqibo, Vincasar)                    o
                         Vindesine                                           o
                         Vinorelbine (Alocrest, Navelbine)                   o
                         Unknown                                             o


              12. Please provide the following information regarding Taxotere® or Docetaxel:
                        a) Number of cycles: 03
                        b) Frequency: Every week o Every three weeks x
                           Other:
                        c) First treatment date: 01/4/2008

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                                d) Last treatment date: 02/8/2008
                                e) Dosage: 75 mg
                                        (1) Combined with another chemotherapy drug: o
                                        (2) Sequential with another chemotherapy drug: x
                                        (3) If so, describe the combination or sequence: w/ Cytoxan and before Adriamycin
                                        and 5-FU
                  13. Prescribing Physician(s):


                      Prescribing Physician                                                        Address
                                                                            3939 Houma Boulevard, Suite 6
Gurtler, Jayne
                                                                            Metairie, LA 70006


                  14. Treatment Facility:


                        Treatment Facility                                                         Address
Dr. Jayne Gurtler, M.D.                                                     3939 Houma Boulevard, Suite 6
(treatment in doctor's office) this is the name of her office.              Metairie, LA 70006


                  15. Identify EACH state where you resided when you began and while taking Taxotere® or
                      Docetaxel:


                              State                                   From Date                             To Date
          LA                                              01/4/2008                            02/8/2008 o Present


                  16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes o No x
                      Unknown o
                  17. If yes, please provide the name and location of the trial site:
                                a) Name of trial site:
                                b) Location of trial site:


VI.    CLAIM INFORMATION



Current Status

                  1. Are you currently taking Taxotere® or Docetaxel? Yes o No x
                  2. Are you currently cancer-free? Yes x No o
                  3. If no, check those that apply to your CURRENT status:




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                                          Current Status                         Yes
                    In remission                                                  x
                    Currently receiving chemotherapy                              o
                    Currently receiving radiation therapy                         o
                    Currently hospitalized for cancer or cancer-related
                                                                                  o
                    complications
                    Currently in home health or hospice care for cancer or
                                                                                  o
                    cancer-related complications
                    Cancer returned after taking Taxotere® or Docetaxel           o


               4. When was the last (most recent) date you consulted with an oncologist: 11/1/2016


Alleged Injury



                    State the injury you allege in this lawsuit and the dates between which you experienced the
               5.
                    alleged injury. Check all that apply:


                       Alleged Injury                            Yes      No         From              To

Persistent total alopecia – No hair growth on your head or
body after six (6) months of discontinuing Taxotere® or          o        x    --/--/----    --/--/---- o Present
Docetaxel treatment
Persistent alopecia of your head – No hair growth on your
head after six (6) months of discontinuing Taxotere® or
                                                                 o        x    --/--/----    --/--/---- o Present
Docetaxel treatment. Hair is present elsewhere on your
body
Permanent/Persistent Hair Loss on Scalp                          x        o    01/8/2008     --/--/---- R Present

Diffuse thinning of hair: partial scalp
            x Top
            o Sides                                                                          --/--/---- R Present
                                                                 x        o    01/8/2008
            o Back
            o Temples
            o Other:

Diffuse thinning of hair: total scalp
            x Top
            o Sides
                                                                 x        o    01/8/2008     --/--/---- R Present
            o Back
            o Temples
            o Other:



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                       Alleged Injury                                Yes          No            From             To
Significant thinning of the hair on your head after six (6)
months of discontinuing Taxotere® or Docetaxel treatment                                                --/--/---- R Present
                                                                      x            o      01/8/2008
– There are visible bald spots on your head no matter how
you style your hair
Moderate thinning of the hair on your head after six (6)
months of discontinuing Taxotere® or Docetaxel treatment                                                --/--/---- R Present
                                                                      x            o      01/8/2008
– There is noticeable hair loss but if you brush or style your
hair, the hair loss is less evident
Small bald area in the hair on your head                              o           x       --/--/----    --/--/---- o Present

Large bald area in the hair on your head                              o           x       --/--/----    --/--/---- o Present
Multiple bald spots in the hair on your head                          o           x       --/--/----    --/--/---- o Present
Change in the texture, thickness or color of your hair after                                            --/--/---- R Present
                                                                      x            o      01/8/2008
Taxotere® or Docetaxel treatment
Other:                                                                o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Eyebrows                                 o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Eyelashes                                o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Body Hair                                o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Genital Hair                             o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Nasal Hair                               o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Ear Hair                                 o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Hair in Other Areas
                                                                      o           x       --/--/----    --/--/---- o Present
Describe:

               6.   Have you ever received treatment for the injury you allege in this lawsuit?
                    Yes o No x


               Name of Treating Physician                        Dates of Treatment                    Treatments
                                                               --/--/---- to --/--/----
                                                               o Present


               7.   Were you diagnosed by a healthcare provider for the injury you allege in this lawsuit?
                    Yes o No x


              Name of Diagnosing Physician                       Dates of Treatment                    Treatments
                                                               --/--/---- to --/--/----
                                                               o Present


               8.   Have you discussed with any healthcare provider whether Taxotere® or Docetaxel caused or
                    contributed to your alleged injury?
                    Yes o No x

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                      Name of Physician                            Dates of Treatment                  Treatments
                                                                  --/--/---- to --/--/----
                                                                  o Present


Statement Information


                 9.   Were you ever given any written instructions, including any prescriptions, packaging,
                      package inserts, literature, medication guides, or dosing instructions, regarding
                      chemotherapy, Taxotere® or Docetaxel? Yes x No o

                 10. If yes, please describe the documents, if you no longer have them. If you have the
                     documents, please produce them:


                                                                         I Have the                I Do Not Have the
                  Description of Document
                                                                         Documents                    Documents
Taxotere Consent Document                                                        x                          o


                 11. Were you given any oral instructions from a healthcare provider regarding chemotherapy or
                     your use of Taxotere® or Docetaxel? Yes x No o
                 12. If yes, please identify each healthcare provider who provided the oral instructions:


                                                Name of Healthcare Provider
                 Gurtler, Jayne


                 13. Have you ever seen any advertisements (e.g., in magazines or television commercials) for
                     Taxotere® or Docetaxel? Yes o No x
                 14. If yes, identify the advertisement or commercial, and approximately when you saw the
                     advertisement or commercial:


                                                                                         Date of Advertisement or
                      Type of Advertisement or Commercial
                                                                                               Commercial
                                                                                      --/--/----


                 15. Other than through your attorneys, have you had any communication, oral or written, with
                     any of the Defendants or their representatives? Yes o No x
                 16. If yes, please identify:


    Date of                                                                                             Substance of
                        Method of Communication              Name of Representative
 Communication                                                                                         Communication
--/--/----


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              17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes o No x
YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR HAIR BEFORE
AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH THE DATE(S) THE
PHOTOGRAPHS WERE TAKEN.


Other Claimed Damages

              18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or Docetaxel
                  caused or aggravated any psychiatric or psychological condition? Yes o No x
              19. If yes, did you seek treatment for the psychiatric or psychological condition?
                  Yes o No x


                     Provider                                      Date                   Condition
                                                      --/--/----


              20. Medical Expenses: Do you claim that you incurred medical expenses for the alleged injury
                  that you claim was caused by Taxotere® or Docetaxel? Yes o No x
              21. If yes, list all of your medical expenses, including amounts billed or paid by insurers and
                  other third-party payors, which are related to any alleged injury you claim was caused by
                  Taxotere® or Docetaxel:


                     Provider                                      Date                   Expense
                                                      --/--/----


              22. Lost Wages: Do you claim that you lost wages or suffered impairment of earning capacity
                  because of the alleged injury that you claim was caused by Taxotere® or Docetaxel?
                  Yes o No x
              23. If yes, state the annual gross income you earned for each of the three (3) years before the
                  injury you claim was caused by Taxotere® or Docetaxel.



                                       Year          Annual Gross Income



              24. State the annual gross income for every year following the injury or condition you claim
                  was caused by Taxotere® or Docetaxel.




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                                         Year        Annual Gross Income



              25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket expenses?
                  Yes o No x
              26. If yes, please identify and itemize all out-of-pocket expenses you have incurred:


                                         Expense                                    Expense Amount



VII. HAIR LOSS INFORMATION



Background

              1. Did you ever see a healthcare provider for hair loss BEFORE taking Taxotere® or Docetaxel?
                 Yes o No x
              2. Did your hair loss begin during chemotherapy treatment? Yes x No o
              3. If yes, did you FIRST experience hair loss:
                            a) After treatment with another chemotherapy agent: o
                            b) After treatment with Taxotere® or Docetaxel: x
              4. At any time before or during the hair loss were you:


                                    Condition                           Yes      Description
          Pregnant                                                       o
          Seriously ill                                                  o
                                                                                Hospitalized for
                                                                                blood clot from
          Hospitalized                                                   x
                                                                                port and
                                                                                dehydration.
                                                                                During my
          Under severe stress                                            x      hospitalization
                                                                                for blood clots.
                                                                                I was under
                                                                                treatment for
          Undergoing treatment for any other medical condition           x      cancer and
                                                                                chemo-related
                                                                                blood clots.


              5.   When did you FIRST discuss with or see a healthcare provider about your hair loss?
                   --/--/----
              6.   Have you started any special diets at any time before or during the hair loss?
                   Yes o No x Describe:


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Hair Loss History


                         Question                        No           Yes            Name of Healthcare Provider
Have you had a biopsy of your scalp to evaluate
                                                          x            o
your hair loss problem?
Have you had blood tests done to evaluate your
                                                          x            o
hair loss problem?
Have your hormones ever been checked to
                                                          x            o
evaluate your hair loss problem?
Have you ever been told by a doctor that you
                                                          o            x       Holdiness, Mack
have a thyroid condition?
Have you ever been treated with thyroid
                                                          o            x       Holdiness, Mack
hormone?
Have you ever been told by a doctor that you
                                                          o            x       Gurtler, Jayne
have a low iron level?

                  7.    Have you ever been on endocrine or hormonal therapy, either before or after chemotherapy
                        with Taxotere® or Docetaxel? Yes x No o
                  8.    If yes, please identify:


                       Treating Physician                  Dates of Treatment                     Treatment
                                                          01/17/2009 to 01/31/2014
Gurtler, Jayne                                                                     Tamoxifen
                                                          o Present
                                                          08/16/1995 to --/--/----
Holdiness, Mack                                                                       Synthroid
                                                          R Present
                                                          12/31/2006 to --/--/----
Wiedemann, Michael A.                                                                 Synthroid
                                                          R Present
                                                          01/1/1971 to 12/31/2006
Wiedemann (Deceased), Alfred G.                                                       Synthroid
                                                          o Present


                  9.    Do you have any autoimmune diseases? Yes o No x
                  10. If yes, check the following which describes you:


                                Autoimmune Disease        Yes
                              Lupus                        o
                              Rheumatoid arthritis         o
                              Celiac disease               o
                              Type 1 diabetes              o
                              Sjogrens disease             o
                              Vitiligo                     o


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                             Autoimmune Disease        Yes
                         Hashimoto’s                    o
                         Other:                         o


               11. Were you taking any medications when your hair loss began? Yes x No o


                                                    Medication
                    Taxotere
                    Adriamycin
                    Cytoxan
                    Synthroid
                    Zofran



Hair Care


               12. How often do you wash/shampoo your hair? Every 2 days
               13. Check any of the following that apply to you currently or that have in the past:


                   Hair Treatment                        Yes         Period of Time               Frequency
Hair chemically processed or straightened (relaxers,
                                                                 --/--/---- to --/--/----
keratin, Brazilian blowout, Japanese straightening,       o
                                                                 o Present
other)
Hair heat processed or straightened (blow drying/                --/--/---- to --/--/----
                                                          o
flat ironing, curling)                                           o Present
                                                                 --/--/---- to --/--/----
Hair dyed                                                 o
                                                                 o Present
                                                                 ??/??/2015 to ??/??/2017
Hair highlighted                                          x                                 A few times a year
                                                                 o Present
                                                                 --/--/---- to --/--/----
Braids                                                    o
                                                                 o Present
                                                                 --/--/---- to --/--/----
Weaves                                                    o
                                                                 o Present
                                                                 --/--/---- to --/--/----
Tight hairstyles (ponytails)                              o
                                                                 o Present
                                                                 --/--/---- to --/--/----
Extensions                                                o
                                                                 o Present
                                                                 --/--/---- to --/--/----
Other:                                                    o
                                                                 o Present


               14. Have you ever used the following?


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                                    Hair Treatment                             Yes
                   WEN Cleansing Conditioners                                   o
                   Unilever Suave Professionals Keratin Infusion                o
                   L’Oréal Chemical Relaxer                                     o


               15. Has your hair care regimen been different in the past? Yes o No x
                          a) If yes, describe:


Hair Loss Treatment

               16. Did you use any other methods to prevent hair loss during chemotherapy?


                                    Hair Treatment                             Yes
                   Folic Acid supplementation                                   o
                   Minoxidil                                                    o
                   Other:                                                       o


               17. Did you wear a cool cap during chemotherapy treatment? Yes o No x
               18. If yes, which cooling cap did you wear:
               19. Have you used any over-the-counter medications, supplements, or cosmeticaides for your
                   hair loss? Yes o No x
               20. If yes, please state the following:


              Treatment                When was it tried?             How long did you try it?      Did it help?
                                      --/--/----


               21. Has anything helped your hair loss? Yes o No x
               22. If yes, please specify:


         Type of Product                    Dates of Use                 Place of Purchase        Results of Use
                                      --/--/---- to --/--/----
                                      o Present


               23. As of the date you verify your PFS, how long have you had alopecia or incomplete hair re-
                   growth? Since January 2008
               24. Has any hair regrowth occurred? Yes x No o
               25. Have you ever worn a wig to conceal your hair loss? Yes x No o
               26. Specify:


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         Dates Used                  Period of Use                     Place Purchased                          Cost of Item
                                                           American Cancer Society - Louisiana
01/8/2008 to 11/??/2008
                                 Everyday                  2605 River Road                                  $160 (Estimate)
o Present
                                                           New Orleans, LA 70121
01/??/2008 to 11/??/2008                                   Jolee Le Belle
                                 Everyday                                                                   $160
o Present                                                  2821 David Drive Metairie, LA 70003
01/??/2008 to 11/??/2008                                   Zury Beauty Supply
                                 Everyday                                                           $160
o Present                                                  2029 Williams Boulevard, Kenner LA 70062


VIII. RECORD HOLDER IDENTIFICATION



Healthcare Providers:

                     1. Identify each physician, doctor, or other healthcare provider who has provided treatment to
                        you for any reason in the past eight (8) years and the reason for consulting the healthcare
                        provider or mental healthcare provider.
YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE


                                    Area or                                                                         Reason for
             Name                                          Address                          Dates
                                    Specialty                                                                       Consultation
                                                  3939 Houma Boulevard, Suite
                                                                              10/16/2007 to --/--/----
Gurtler, Jayne                   Oncologist       6                                                                Breast Cancer Care
                                                                              R Present
                                                  Metairie, LA 70006
                                                  4720 S I-10 Service Rd W #
                                 Internal                                        08/16/1995 to --/--/----
Holdiness, Mack                                   207                                                              Primary Care
                                 Medicine                                        R Present
                                                  Metairie, LA 70001
                                                  4224 Houma Boulevard, Suite
                                 Oncology                                     10/30/2007 to 10/16/2008             Double
Uddo, Joseph                                      450
                                 Surgery                                      o Present                            Mastectomy
                                                  Metairie, LA 70006
                                 Breast           4228 Houma Boulevard, Suite
                                                                              08/22/2008 to 10/12/2009             Breast
Lindsey, John                    Reconstruction   500
                                                                              o Present                            Reconstruction
                                 Surgery          Metairie, LA 70006
                                                  4500 Clearview Parkway,
                                                                                 01/3/2013 to --/--/----
Sullivan, Kathleen               Ob-Gyn           Suite 101                                                        Ob-Gyn Care
                                                                                 R Present
                                                  Metairie, LA 70006
                                                  3601 Houma Boulevard, Suite
Stein, PT (Ochsner Occupational Physical                                      01/1/2016 to --/--/----              Physical Therapy
                                                  200
Medicine), Amy                  Therapy                                       R Present                            for Lymphedema
                                                  Metairie, LA 70006
                                                                                                                   Breast
                                 Breast           4429 Clara Street, Suite 330   01/1/2008 to 12/31/2008
Allen, Robert                                                                                                      Reconstruction
                                 Reconstruction   New Orleans, LA 70115          o Present
                                                                                                                   Consult (Not Hired)
                                                  606 West 12th Avenue           01/1/2013 to 12/31/2013           Hysterectomy
Braly, Patricia                  Ob-Gyn Surgery
                                                  Covington, LA 70433            o Present                         Surgery
                                                                                                                   Breast
                                 Breast           4224 Houma Boulevard           01/1/2009 to 01/31/2009
Colon, Gustav                                                                                                      Reconstruction
                                 Reconstruction   Metairie, LA 70006             o Present
                                                                                                                   Consult (Not Hired)

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                                    Area or                                                                          Reason for
             Name                                            Address                            Dates
                                    Specialty                                                                        Consultation
                                                  3941 Houma Boulevard, Suite
                                  Gastroenterolog                             01/1/2008 to --/--/----              Gastrointestinal
Dulitz, David                                     1-B
                                  y                                           R Present                            Care
                                                  Metairie, LA 70006
                                                   4204 Houma Boulevard, Suite
                                  Oncology                                     10/16/2007 to 06/18/2008
Monsour, Paul D                                    100                                                             Oncology Radiation
                                  Radiation                                    o Present
                                                   Metairie, LA 70006
                                  Internal         200 West Esplanade Avenue       01/4/2006 to --/--/----
Wiedemann, Michael A                                                                                               Internal Medicine
                                  Medicine         Kenner, LA 70065                R Present
                                                   3715 Prytania Street, Suite
Ochsner (A.W.                                                                      11/1/2011 to --/--/----
                                  Dermatology      306                                                             Skin Biopsy
Dermatopathology), J. Coller                                                       R Present
                                                   New Orleans, LA 70115
                                                  4224 Houma Boulevard, Suite
                                  Gastroenterolog                             03/19/2008 to --/--/----             Anal Fissure Due to
Griffin, Jeffrey F                                540
                                  y                                           R Present                            Chemotherapy
                                                  Metairie, LA 70006
                                  Internal         4228 Houma Blvd. Ste. 400       01/1/1971 to 01/4/2006
Weidemann, Alfred                                                                                                  Internal Medicine
                                  Medicine         Metairie, LA 70006              o Present
                                  Internal         Jefferson Davis Parkway         01/1/1960 to 01/1/1971
Klein, Hanks                                                                                                       Internal Medicine
                                  Medicine         New Orleans, LA 70119           o Present


Hospitals, Clinics, and Other Facilities:

                     2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation center, or
                        other healthcare facility where you have received inpatient or outpatient treatment
                        (including emergency room treatment) in the past eight(8)years:

YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY, IMAGING, BIOPSIES,
CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC PROCEDURES OR TREATMENT, ALONG
WITH ANY OTHER HEALTHCARE FACILITIES


                                                                                                                   Reason for
                 Name                                  Address                            Dates
                                                                                                                   Treatment
                                          4200 Houma Boulevard                   10/16/2007 to --/--/----
East Jefferson General Hospital                                                                              Surgeries/Oncology
                                          Metairie, LA 70006                     R Present
                                          3717 Houma Boulevard, Suite 200        01/1/2008 to --/--/----     Gastrointestinal
Alliance Endoscopy Center
                                          Metairie, LA 70006                     R Present                   Testing/Treatment
                                                                                 04/1/2008 to
                                          3800 Houma Blvd, Ste 240
East Jefferson Radiation Oncology                                                12/31/2008                  radiation treatment
                                          Metairie, LA 70006
                                                                                 o Present


Laboratories:

                     3. Identify each laboratory at which you had tests run in the past ten (10) years:




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          Name                       Address                           Dates                   Test     Reason for Tests
                           3908 Veterans Memorial
                                                            01/1/2007 to --/--/----                   Thyroid Tests & General
Quest Diagnostics          Boulevard                                                    blood test
                                                            R Present                                 Blood Tests
                           Metairie, LA 70002


Pharmacies:

                    4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other supplier
                       (including mail order) where you have had prescriptions filled or from which you have ever
                       received any prescription medication within three (3) years prior to and three (3) years after
                       your first treatment with Taxotere:


             Name                               Address                                Dates               Medications
                                   909 David Drive                         01/1/2004 to --/--/----
Walgreens                                                                                             Synthroid, Tamoxifen
                                   Metairie, LA 70003                      R Present
                                   8912 Veterans Memorial Boulevard        01/1/2004 to --/--/----
Walmart                                                                                               Synthroid, Tamoxifen
                                   Metairie, LA 70003                      R Present
                                   8843 Veteran's Parkway                  01/1/2004 to --/--/----    Synthroid, Tamoxifen,
Walmart
                                   Metairie, LA 70003                      R Present                  Wellbutrin


Retailers:

                    5. Identify each pharmacy, drugstore, and/or other retailer (including mail order) where you
                       have purchased over-the-counter medications, or hair products in the past ten (10) years:


             Name                               Address                                Dates                Purchases
                                   8843 Veteran's Parkway                  01/1/2004 to --/--/----
Walmart                                                                                               Shampoo, Ibuprofen
                                   Metairie, LA 70003                      R Present


Insurance Carriers:

                    6. Identify each health insurance carrier which provided you with medical coverage and/or
                       pharmacy benefits for the last ten (10) years:


                                                            Name of Insured &               Policy
          Carrier                     Address                                                           Dates of Coverage
                                                                  SSN                       Number
                             1107 Veterans Boulevard,
                                                            Tuyes, Lisa                               01/1/2010 to --/--/----
Humana                       Suite 2b
                                                                                                      R Present
                             Metairie, LA 70005
                             3838 North Causeway
                                                            Tuyes, Lisa                               01/1/2007 to 12/31/2009
Coventry Insurance           Boulevard, Suite 3350
                                                                                                      o Present
                             Metairie, LA 70002




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IX.    DOCUMENT REQUESTS AND AUTHORIZATIONS


       Please state which of the following documents you have in your possession. If you do not have the
       following documents but know they exist in the possession of others, state who has possession of the
       documents: Produce all documents in your possession (including writings on paper or in electronic
       form) and signed authorizations and attach a copy of them to this PFS.

Requests


                                                                                       If No, who has the
                    Type of Document(s)                            Yes       No
                                                                                          document(s)?
Documents you reviewed to prepare your answers to this
Plaintiff Fact Sheet.
Your attorney may withhold some documents on claims of             x          o
attorney-client privilege or work product protection and, if so,
provide a privilege log
Medical records or other documents related to the use of
Taxotere® or Docetaxel at any time for the past twelve             x          o
(12)years.
Medical records or other documents related to your treatment
for any disease, condition or symptom referenced above for         o         x      Medical Providers
any time in the past twelve (12) years.
Laboratory reports and results of blood tests performed on you
                                                                   o         x      N/A
related to your hair loss.
Pathology reports and results of biopsies performed on you
related to your hair loss.
Plaintiffs or their counsel must maintain the slides and/or
                                                                   o         x      N/A
specimens requested in this subpart, or send a preservation
notice, copying Defendants, to the healthcare facility where
these items are maintained.
Documents reflecting your use of any prescription drug or
                                                                   o         x      Medical Providers
medication at any time within the past eight (8) years.
Documents identifying all chemotherapy agents that you have
                                                                   o         x      Medical Providers
taken.
Documents for any workers' compensation, social security or
other disability proceeding at any time within the last five (5)   o         x      N/A
years.
Instructions, product warnings, package inserts, handouts or
other materials that you were provided or obtained in              x          o     Medical Providers
connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                        o         x      N/A
Articles discussing Taxotere®.                                     o         x      N/A




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                                                                                 If No, who has the
                     Type of Document(s)                            Yes   No
                                                                                    document(s)?
Any packaging, container, box, or label for Taxotere® or
Docetaxel that you were provided or obtained in connection
with your use of Taxotere®.                                         o     x    N/A
Plaintiffs or their counsel must maintain the originals of these
items.
Documents which mention Taxotere® or Docetaxel or any
alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents, documents
provided by your attorney, or documents obtained or created         o     x    N/A
for the purpose of seeking legal advice or assistance on claims
of attorney-client privilege or work product protection and, if
so, provide a privilege log.
Documents obtained directly or indirectly from any of the
                                                                    o     x    N/A
Defendants.
Communications or correspondence between you and any
                                                                    o     x    N/A
representative of the Defendants.
Photographs, drawing, slides, videos, recordings, DVDs, or
any other media that show your alleged injury or its effect in      x     o    N/A
your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition or
                                                                    x     o
symptom referenced above at any time for the past twelve (12)
years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace, LinkedIn,
Google Plus, Windows Live, YouTube, Twitter, Instagram,
                                                                    o     x    N/A
Pinterest, blogs, and Internet chat rooms/message boards)
relating to Taxotere® or Docetaxel or any of your claims in
this lawsuit.
If you claim you have suffered a loss of earnings or earning
capacity, your federal tax returns for each of the five (5) years
preceding the injury you allege to be caused by Taxotere® or
                                                                    o     x    N/A
Docetaxel, and every year thereafter or W-2s for each of the
five (5) years preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any physician,
                                                                    o     x    N/A
hospital, pharmacy or other healthcare providers.
Records of any other expenses allegedly incurred as a result of
                                                                    o     x    N/A
your alleged injury.
If you are suing in a representative capacity, letters
                                                                    o     x    N/A
testamentary or letters of administration.
If you are suing in a representative capacity on behalf of a
deceased person, decedent’s death certificate and/or autopsy        o     x    N/A
report.



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                                                                                        If No, who has the
                     Type of Document(s)                           Yes        No
                                                                                           document(s)?
Photographs of you that are representative of your hair
                                                                    x          o
composition before treatment with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                                    x          o
composition during treatment with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment with           o         x      N/A
Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                                    x          o
composition in present day.
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy records
                                                                    x          o
from three (3) years before and three (3) years after your first
treatment with Taxotere in the forms attached hereto.

X. DECLARATION

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information provided in
connection with this Plaintiff Profile Form is true and correct to the best of my knowledge information and
belief at the present time.
Signature                                               Date




TUYES, LISA                                                29                               Plaintiff ID 1360
